                   Case 4:13-cr-00068-JM Document 535 Filed 05/02/23 Page 1 of 3

PROB 12C
ED/AR (08/2022)
                                                                                                   FILED
                                                                                             U.S DISTRICT COURT
                                             United States District Court                EASTElllM DrSTllllCT ARKANSAS


                                                          for the
                                                                                                  MAYO 2 2023
                                                                                             TAMMY H. DOWNS, CLERK
                                               Eastern District of Arkansas                           ::;:::;:+:
                                                                                       By:           ~~~,,,_.~     DEP CLERK
                         Petition for Warrant or Summons for Offender Under Supervision

 Name of Offender:         Kenneth Eugene Brown, II                     Case Number:         4:13CR00068-001-      JM
 Name of Sentencing Judicial Officer:          Honorable J. Leon Holmes
                                               U.S. District Judge

 Name of Reassigned Judicial Officer:          Honorable James M. Moody Jr.
                                               U.S. District Judge
                                               (Reassigned on October 1, 2019)

 Original Offense:         Conspiracy to Possess With Intent to Distribute Methamphetamine
 Date of Sentence:         June 18, 2015
 Original Sentence:        151 months Bureau of Prisons followed by 60 months supervised release
 Type of                                                Date Supervision Commenced:      September 7, 2018
 Supervision:       Supervised Release                  Date Supervision Expires:        September 6, 2023
 U.S. Probation                            Asst. U.S.                            Defense
 Officer: Chad R. Jones                    Attorney:    Chris Givens             Attorney:     To be appointed


                                              PETITIONING THE COURT

IZI         To Issue a Warrant and Seal this Petition Pending Execution (cc: U.S. Probation and U.S. Marshal only)
D           To Issue a Summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

  Violation          Condition
  Number            and Number      Nature of Noncompliance
        1           Mandatory        The defendant shall not commit another federal, state, or local crime.

        2           Mandatory       The defendant shall not unlawfully possess a controlled substance. The
                                    defendant shall refrain from any unlawful use of a controlled substance.
                                    The defendant shall submit to one drug test within 15 days of release from
                                    imprisonment and at least two periodic drug tests thereafter, as determined
                                    by the court.
        3          Standard (7)     The defendant shall refrain from excessive use of alcohol and shall not
                                    purchase, possess, use, distribute, or administer any controlled substance
                                    or any paraphernalia related to any controlled substances, except as
                                    prescribed by a physician.
             Case 4:13-cr-00068-JM Document 535 Filed 05/02/23 Page 2 of 3


Prob 12C                                          -2-                      Petition for Warrant or Summons
                                                                            For Offender Under Supervision

Name of Offender: Kenneth Eugene Brown, II                                Case Number: 4:13CR00068-001




    4        Standard (8)    The defendant shall not frequent places where controlled substances are
                             illegally sold, used, distributed, or administered.
    5        Standard (9)    The defendant shall not associate with any persons engaged in criminal
                             activity, and shall not associate with any person convicted of a felony unless
                             granted permission to do so by the probation officer.
                             On April 12, 2019, Mr. Brown violated these conditions of supervised release
                             when he was found at a residence that contained 35 Ecstasy pills, 67
                             Oxycodone pills, approximately 0.4 grams of cocaine, approximately 14 grams
                             of marijuana, digital scales, plastic baggies, vacuum sealed bags containing
                             marijuana residue, mason jars containing marijuana residue, and $840 in U.S.
                             currency, as evidenced by his arrest for Possession of a Controlled Substance
                             With the Purpose to Deliver (Ecstasy, MDMA), Possession of a Controlled
                             Substance With the Purpose to Deliver (Oxycodone), Possession of a Controlled
                             Substance (Cocaine), Possession of Drug Paraphernalia, and Misdemeanor
                             Possession of a Controlled Substance (Marijuana), as documented by the
                             Second Judicial Drug Task Force Blytheville Police Department synopsis
                             report. Furthermore, all occupants of the residence were identified as convicted
                             felons.

                             On March 6, 2023, Mr. Brown admitted to the use of THC edibles on the
                             morning of the same date, and he signed an admission form. Mr. Brown cites
                             his use as self-medicating due to side effects from recent medications he was
                             prescribed for chronic health conditions.

                             On March 31, 2023, Mr. Brown submitted a urine specimen which tested and
                             confirmed positive for the use of cocaine.

                             On April 17, 2023, Mr. Brown submitted a urine specimen which tested and
                             confirmed positive for the use of marijuana.

                             On April 27, 2023, Mr. Brown violated these conditions of supervised release
                             when his business was found to be receiving approximately 18.6 pounds of
                             suspected marijuana via UPS shipments, as evidenced by his arrest for
                             Possession of a Controlled Substance With the Purpose to Deliver, Marijuana,
                             as documented by the Second Judicial District Drug Task Force's synopsis
                             report.

    6       Standard (11)    The defendant shall notify the probation officer within seventy-two hours
                             of being arrested or questioned by a law enforcement officer.
                             On April 13, 2019, Mr. Brown was released on bond and failed to contact his
                             supervising officer regarding his arrest.
                Case 4:13-cr-00068-JM Document 535 Filed 05/02/23 Page 3 of 3


Prob 12C                                              -3-                      Petition for Warrant or Summons
                                                                                For Offender Under Supervision

Name of Offender: Kenneth Eugene Brown, II                                    Case Number: 4: l 3CR00068-00 I


     7          Special (14)      The defendant must participate, under the guidance and supervision of the
                                  probation officer, in a substance abuse treatment program which may
                                  include testing, outpatient counseling, and residential treatment. The
                                  defendant must abstain from the use of alcohol throughout the course of
                                  treatment.
                                  On March I, 2019, Mr. Brown failed to report and submit a urine specimen.

                                  On April 7, 2023, Mr. Brown failed to submit a urine specimen as required. Mr.
                                  Brown reported for testing, but left the facility without providing a urine
                                  specimen.

Based on his actions, Mr. Brown is believed to be a danger to the community by allegedly distributing illicit
drugs in the area.

I declare under penalty of perjury that the                    The U.S. Attorney's Office submits this petition
foregoing is true and correct.                                 to be filed with Criminal Docketing as a motion.




 Chad R. Jones                                                  Chris Givens
 U.S. Probation Officer                                         Assistant U.S. Attorney

 Executed on    April 28, 2023                                  Executed on       <"::, \))   ~


 Supervising U.S. Probation Officer
